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 UNITED STATES BANKRUPTCY COURT
 FOR THE DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1                              Order Filed on May 29, 2019 by
                                                                            Clerk U.S. Bankruptcy Court
 LAW OFFICES OF KENNETH L. BAUM                                                District of New Jersey

 A Limited Liability Company
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 Attorneys for Debtors-in-Possession
 In re:                                                       Chapter 11

 E Z MAILING SERVICES, INC. d/b/a EZ                          Case No. 19-17900
 WORLDWIDE EXPRESS AND UNITED BUSINESS
 EXPRESS,                                                     Hon. Stacy L. Meisel

                                  Debtor.
 In re:                                                       Chapter 11

 UNITED BUSINESS FREIGHT FORWARDERS,                          Case No. 19-17906
 LLC,
                                                              Hon. Stacy L. Meisel
                                  Debtor.




            CONSENT ORDER RESOLVING TOTAL WAREHOUSE INC.’S
          EMERGENCY MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          The relief set forth on the following pages, numbered two (2) through five (5), is hereby

ORDERED.
 DATED: May 29, 2019




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BUSINESS EXPRESS, et al.
Case No.:         19-17900 (SLM) et al.
Caption of Order: CONSENT ORDER RESOLVING TOTAL WAREHOUSE INC.’S
EMERGENCY MOTION FOR RELIEF FROM THE AUTOMATIC STAY
       This matter comes before the Court by motion [Docket No. 27] (the “Relief from Stay

Motion”) of movant Total Warehouse Inc. (“Total Warehouse”), by its attorneys of record, and

respondents EZ Mailing Services, Inc. and United Business Freight Forwarders Limited Liability

Company (collectively, the “Debtors”) having filed an objection [Docket No. 74] to the granting

of the Relief from Stay Motion; and the it appearing to the Court that that the parties herein have

agreed to a resolution of this matter on the terms and conditions set forth herein; it is therefore

       ORDERED that:

       1.      Upon the closing (the “Closing”) of the asset sale (the “Asset Sale”) of the

Debtors’ operations and assets centered around a warehouse in Vernon, California and centered

around the Amazon delivery business in Los Angeles, California to QX Logistix LLC (the

“Purchaser”) and the release of the Lump Sum Payment (defined below) to Total Warehouse,

Purchaser shall acquire the pallet racking (the “Pallet Racking”) owned by Total Warehouse and

located in the Vernon, California warehouse free and clear of all liens, encumbrances, claims and

other interests of Total Warehouse.        As soon as reasonably practicable thereafter, Total

Warehouse shall discharge and release any and all UCC Statements and other filings and

recordings with respect to Total Warehouse’s interest in, to and upon the Pallet Racking.

       2.      As soon as reasonably practicable after the entry of this Order on the Court’s

docket, Purchaser (or its designee) shall promptly wire-transfer the sum of $30,500 (the “Lump

Sum Payment”) into the escrow account of counsel of record to Total Warehouse or otherwise

deliver the Lump Sum Payment to counsel of record to Total Warehouse on terms and conditions

and by method acceptable to both Purchaser and counsel of record to Total Warehouse. At the

Closing, Purchaser shall authorize the release of the Lump Sum Payment from counsel’s escrow

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EMERGENCY MOTION FOR RELIEF FROM THE AUTOMATIC STAY
account to Total Warehouse. The Lump Sum Payment shall constitute the entire amount of

monies necessary to purchase the Pallet Racking and cure the monetary arrears on certain

forklifts (the “Forklifts”) previously rented by the Debtors and used at the warehouse located in

Vernon, California pursuant to the rental agreement (the “Rental Agreement”) that is the first of

the two Rental Agreements attached as Exhibit 1 to the Declaration of Boyd Keifus [Docket No.

27-3, Exhibit 1]. The Forklifts are identified in paragraph 3 herein.

        3.      The Forklifts are identified as follows:

Type                                    Serial #           Model #

Crown / Stand up                        1A361658           RD572530
Hyundai ‐ Fork Lift                     HHL05CD0000108 40L‐7A

Nissan Unicarries‐ Fork Lift            CP1F1‐9N20843      MCP1F1A20LV
Raymond Stand up                        740‐08‐AB11425     740R35TT


        4.      Subject to the occurrence of the Closing, the Rental Agreement for the Forklifts is

hereby assumed by the Debtors and assigned to Purchaser, pursuant to Section 365 of the

Bankruptcy Code, as modified hereby to provide (1) a fixed monthly rental payment of $7,250

per month payable by Purchaser to Total Warehouse not later than the fifth (5th) calendar day of

each month and (2) an initial six month term for the rental of the Forklifts, with Purchaser and

Total Warehouse having the option to cancel such agreement on 30 days’ notice after the

completion of the initial six months.              The remaining terms and conditions of the Rental

Agreement remain in full force and effect without modification.

        5.      The first fixed monthly rental payment of $7,250 is payable by Purchaser to Total

Warehouse no later than close of business on May 31, 2019, TIME BEING OF THE ESSENCE.

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If such payment is not timely made, Total Warehouse is hereby granted relief from the automatic

stay under Section 362(a) of the Bankruptcy Code effective June 1, 2019 to exercise its state law

rights with respect to the Forklifts and Pallet Racking, and counsel to Total Warehouse shall

promptly return the Lump Sum Payment to Purchaser or its designee.

       6.      Upon the entry of this Order on the Court’s docket, Total Warehouse’s Relief

from Stay Motion and objections to approval of the Asset Sale are deemed withdrawn.

       7.      In the event that the Closing of the Asset Sale does not occur on or before June 7,

2019, TIME BEING OF THE ESSENCE, Total Warehouse is hereby granted relief from the

automatic stay under Section 362(a) of the Bankruptcy Code effective June 8, 2019 to exercise

its state law rights with respect to the Forklifts and Pallet Racking, and counsel to Total

Warehouse shall promptly return the Lump Sum Payment to Purchaser or its designee.

       8.      This Consent Order may be signed in counterparts, which taken together shall

constitute one original. A facsimile signature or a PDF copy of a signature by any of the parties

shall have the same force and effect as an original signature.

                          [remainder of page deliberately left blank]




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       9.      Notwithstanding any Federal Rule of Bankruptcy Procedure or Local Bankruptcy

Rule to the contrary, this Consent Order shall be effective immediately upon its entry on the

Court’s docket.

       We respectfully ask for this:

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       BAUM LLC

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